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9    ROTHSCHILD STORAGE RETRIEVAL INNOVATIONS, LLC
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13               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF CALIFORNIA
14
15   ROTHSCHILD STORAGE                     Case No. 3:15-cv-00373-EDL
     RETRIEVAL INNOVATIONS,
16
     LLC,                                   LEIGH M. ROTHSCHILD’S
17                Plaintiff,                DECLARATION IN SUPPORT
18                                          OF PLAINTIFF’S RESPONSE
     HTC CORPORATION AND HTC                IN OPPOSITION TO
19   AMERICA, INC.,                         DEFENDANTS HTC
20                 Defendants.              CORPORATION AND HTC
                                            AMERICA, INC.’S MOTION TO
21                                          STAY PENDING INTER
22                                          PARTES REVIEW
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1          I, Leigh M. Rothschild, declare as follows:
2          1.    My name is Leigh M. Rothschild. I am over eighteen years of age
3    and am competent to testify about the matters in this Declaration. Except where
4    stated, I have personal knowledge of all matters set forth herein.
5          2.    I am the Managing Director of Rothschild Storage Retrieval
6    Innovations, LLC. This Declaration is submitted in support of Plaintiff’s
7    Response in Opposition to Defendants HTC Corporation and HTC America,
8    Inc.’s Motion to Stay Pending Inter Partes Review.
9          3.    I filed my first patent application more than 30 years ago, and have
10   since been issued more than 75 patents, including multiple patents related to
11   mobile imaging technologies.
12         4.    I individually developed U.S. Patent No. 8,437,797 (the “’797
13   patent”) without the aid of internal staff, employees, and outside funding. I
14   personally funded the research and development of the ’797 patent.
15         5.    I have personally invested over seven years of my time and money
16   in the prosecution, licensing, and/or litigation of the ’797 patent.
17         6.    My patents are my single most important asset to all the businesses
18   I own. Royalties from patents and licensing of my technology is the main
19   financial means by which I expect to provide for my family.
20
21         I declare under penalty of perjury that the foregoing is true and correct
22   this 27th day of March, 2015, in Bay Harbor Islands, Florida.
23
24
25                                                       /s/ Leigh M. Rothschild
26                                                       Leigh M. Rothschild
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